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                                         U.S. Department of Justice
                                                                                            Page 3
                                                     United States Attorney
                                                     Southern District of New York
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                                                    New York, New York 10007



                                                     January 11, 2022

BY ECF

The Honorable Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     In re Search Warrant dated November 5, 2021, 21 Misc. 813 (AT)
               In re Search Warrant dated November 3, 2021, 21 Misc. 819 (AT)
               In re Search Warrant dated November 3, 2021, 21 Misc. 825 (AT)

Dear Judge Torres:

        The Government respectfully submits this letter to object to the Special Master’s Report
and Recommendation (“R&R”) dated December 28, 2021 (Dkt. No. 51, 21 Misc. 813 (AT); Dkt.
No. 13, 21 Misc. 819 (AT); Dkt. No. 14, 21 Misc. 825 (AT)), in which the Special Master
recommended that the Government should bear half of the cost of the Special Master’s
compensation and expenses. For the reasons set forth below, the Court should require that James
E. O’Keefe, III, Eric Cochran, Spencer Meads, and Project Veritas (the “Petitioners”) bear the full
cost of the Special Master’s compensation and expenses.

        The Special Master’s compensation and expenses may be paid, as relevant here, “by a party
or parties.” Fed. R. Civ. P. 53(g)(2)(A). The Court’s allocation of payment for the Special
Master’s compensation and expenses is governed by Rule 53(g)(3) of the Federal Rules of Civil
Procedure, which provides, in pertinent part: “The court must allocate payment among the parties
after considering the nature and amount of the controversy, the parties’ means, and the extent to
which any party is more responsible than other parties for the reference to a master.”

       On December 14, 2021, the Special Master held an initial videoconference with the parties,
during which the allocation of payment for the Special Master’s compensation and expenses was
discussed. (R&R at 1.) During that conference, the Government requested that the Special Master
propose that her compensation and expenses be paid by the Petitioners, while the Petitioners sought
to impose those costs upon the Government. (See id.) On December 16, 2021, the Special Master
recommended to the Court that “the [P]etitioners should together be responsible for the payment
of 50% of the Special Master’s compensation and expenses, while the Government should be
responsible for the remaining 50%.” (Id. at 2.)
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        In light of the circumstances presented, the Petitioners should bear the full cost of the
Special Master’s compensation and expenses, principally because they are “responsible . . . for the
reference to a master.” Fed. R. Civ. P. 53(g)(3). The Petitioners moved for the appointment of
the Special Master and the Government opposed. In granting the Petitioners’ motion, “the Court
recognize[d], as other courts in this district have concluded, that ‘the Southern District prosecutors
have integrity and decency,’ and the filter team alone could conduct the review ‘with utmost
integrity.’” In re Search Warrant dated November 5, 2021, No. 21 Misc. 813 (AT), 2021 WL
5845146, at *2 (S.D.N.Y. Dec. 8, 2021) (quoting In re Search Warrants Executed on April 9, 2018,
No. 18 Mag. 3161 (S.D.N.Y. May 2, 2018), Dkt. No. 38 at 8)). Indeed, the review protocol
prescribed by this Court provides for an active and important role for the Government’s filter team.
See id. (“The filter team shall conduct a review of the responsive materials to determine if any
should be withheld from the investigative team on any grounds—including grounds related to any
First Amendment concerns, journalistic privileges, and attorney-client privileges.”). The benefit
of additional oversight of the review process by the Special Master accrues principally to the
Petitioners, not to the Government, and therefore they should bear the cost accordingly.

        The Government anticipates that the vast majority of the Special Master’s compensation
and expenses will be incurred by her “initial review of the extracted materials to determine what
materials are responsive to the search warrants.” Id. As the Court is aware, a responsiveness
review typically is undertaken, after any necessary filter review is completed, by law enforcement
agents and prosecutors on the investigative team. However, a filter team also may be involved in
conducting a responsiveness review in appropriate circumstances. Whether conducted by a filter
team or an investigative team, the cost to the Government of conducting a responsiveness review
using its own personnel is drastically lower than employing a Special Master and her staff. Here,
the Court has found that a filter team could ably serve the same role as the Special Master. See id.
As a result, the Government should not be held responsible for the higher cost of the Special
Master’s review process. 1

       Recent prior allocations of Special Master costs in this District are consistent with the
Government’s request that the Petitioners bear the full cost of the Special Master in this matter. In
the matter involving Rudolph Giuliani, the Government requested the appointment of a Special
Master, and agreed to shoulder the full burden of the Special Master’s compensation accordingly.
In both of the two matters referenced by the Special Master (see R&R at 2), the matter involving
Michael Cohen in this District and another matter in the Central District of California, the
Government consented to the appointment of a Special Master, and agreed to share the cost of the
Special Master’s compensation. Here, by contrast, the Government opposed the appointment of a
Special Master and has accordingly requested that the Petitioners bear the full cost of the Special
Master.

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        To the extent O’Keefe and Project Veritas appear to suggest that Project Veritas does not
have sufficient funds to contribute to the Special Master’s compensation because it is an
organization merely “armed with a cell phone and a web site” (Dkt. No. 52 at 2, 21 Misc. 813 (AT)
(internal quotation omitted)), the Government notes that its most recent, publicly available tax
filings—for tax year 2019—show more than $12 million in revenue, of which nearly $400,000
was paid as compensation to O’Keefe.                      See Project Veritas, ProPublica,
https://projects.propublica.org/nonprofits/organizations/272894856 (last viewed Jan. 11, 2022).
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        Finally, regardless of whether the Court accepts the Special Master’s proposed allocation
of payments, this Court should reject the suggestion by Petitioners James E. O’Keefe, III, and
Project Veritas that because “[a] interim allocation may be amended to reflect a decision on the
merits,” Fed. R. Civ. P. 53(g)(3), judgment should be reserved about which party shall ultimately
bear the cost of the Special Master’s duties. (See Dkt. No. 52 at 2, 21 Misc. 813 (AT).) The issues
that O’Keefe and Project Veritas express interest in litigating are not and will not be before this
Court or the Special Master. The Special Master’s duties are limited to “oversee[ing] the review
of materials seized from Petitioners,” In re Search Warrant dated November 5, 2021, 2021 WL
5845146, at *2, and this Court has already rejected the Petitioners’ attempts to challenge the search
warrants in this proceeding, id. at *1 (“The Court shall not consider arguments relating to the
validity of the search warrants because that issue is not before the Court.”). (See Gov’t Mem. in
Opp’n to Special Master at 2 n.2, 14 n.10, 19 n.14 (Dkt. No. 29, 21 Misc. 813 (AT).) Accordingly,
in the context of this proceeding, there is no impending “decision on the merits” for the Court to
potentially evaluate at a later time.

        In sum, the Court should require that Petitioners pay the full cost of the Special Master’s
compensation and expenses, and deny O’Keefe and Project Veritas’s request for an “interim
allocation.”
                                             Respectfully submitted,

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